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                             IN THE UNITED STATES DISTRICT COURT
                            FOR THE SOUTHERN DISTRICT OF ILLINOIS

ROXANN HALL, on behalf of                         )
herself and all other persons similarly situated, )
known and unknown,                                )
                                                  )
        Plaintiffs,                               )
                                                  )              Case No. 3:21-cv-55
v.                                                )
                                                  )
MERIDIAN SENIOR LIVING, LLC,                      )
                                                  )
        Defendant.                                )

                                            NOTICE OF REMOVAL

           Defendant Meridian Senior Living, LLC (“Defendant” or “Meridian”) hereby removes this

putative class action from the Circuit Court of Williamson County, Illinois, to the United States

District Court for the Southern District of Illinois, Benton Division. This Court has jurisdiction

under the Class Action Fairness Act (“CAFA”) because minimal diversity exists, and on the face

of Plaintiff’s pleading, the maximum amount in controversy exceeds $5 million. See 28 U.S.C. §§

1441, 1446, 1332(d), and 1453(b). Removal is timely under 28 U.S.C. § 1446(b)(1).

I.         Overview of Claims Asserted and Relief Sought

           Defendant Meridian Senior Living, LLC is a limited liability company. Its sole member is

a citizen of Delaware. Plaintiff Roxann Hall’s Class Action Complaint asserts that as an employee

at one of Meridian’s facilities, she used timekeeping technology to clock in and out from work in

a manner that violated the Illinois Biometric Information Privacy Act (“BIPA”), 740 ILCS 14/1,

et seq. See, e.g., Compl. ¶¶ 14-21, 35-43 (attached as part of Exhibit A).1




1
    Exhibit A is “a copy of all process, pleadings, and orders served” on Defendant. See 28 U.S.C. § 1446(a).
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         Plaintiff alleges at least three categories of violations of Section 15 of BIPA. Compl. ¶¶

38-40. Plaintiff alleges Meridian failed to:

                1)      inform Plaintiff in writing that his biometrics were being recorded,
         obtained, collected or stored (Section 15(b)(1));
                2)     inform Plaintiff of the specific purpose and length of term for which his
         biometrics were being collected, stored, and used (Section 15(b)(2)); and
                 3)       obtain a written release from Plaintiff (Section 15(b)(3)).
Lastly, Plaintiff seeks injunctive relief, which includes enjoining Meridian from further alleged

BIPA non-compliance. Compl. ¶¶ 45-54.

         Plaintiff defines the putative class as “All persons whose hand, finger, face, retina or iris

was scanned in the course of their employment at a facility owned, operated, or managed by

Meridian Senior Living within the State of Illinois.” Id. ¶ 25. Plaintiff contends that Meridian’s

violations of BIPA were “reckless” and seeks “the maximum applicable liquidated damages

provided under BIPA for each time Defendant collected, captured, or otherwise obtained his or

her biometric identifier or biometric information.”2 Id. ¶¶ 42-43.

II.      Removal is Proper under CAFA

         This Court has jurisdiction under CAFA because this is a purported class action (id. at ¶¶

28-39) in which (A) minimal diversity exists; and (B) the amount in controversy exceeds $5

million. See 28 U.S.C. §§ 1332(d)(1)(B) (defining “class action” to include state law class actions),

1332(d)(2) (granting district courts original jurisdiction over purported class actions in which the

amount in controversy exceeds $5 million and “any member of a class of plaintiffs is a citizen of

a State different from any defendant”), and 1446 (permitting removal).




2
 Under BIPA, a plaintiff can recover “liquidated damages of $5,000 or actual damages, whichever is greater” for
each intentional or reckless violation.” 740 ILCS 14/20(2).


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             a. Minimal Diversity Exists

          Minimal diversity exists where “any member of a class of plaintiffs is a citizen of a State

 different from any defendant.” 28 U.S.C. § 1332(d)(2). Plaintiff is a citizen of Illinois. See Compl.

 ¶ 7. Meridian Senior Living, LLC is a citizen of the state of its sole member, which is Delaware.

 Declaration of Lawrence Bailey, ¶ 2 (attached as Exhibit B). Accordingly, minimal diversity exists.

             b. Amount in Controversy Exceeds $5,000,000

          Here, on the face of Plaintiff’s pleadings, the amount in controversy “exceeds the sum or

 value of $5,000,000, exclusive of interest and costs.” 28 U.S.C. § 1332(d)(2). The Complaint

 asserts at least four types of alleged violations, and seeks statutory damages for “each” violation

 (Compl. ¶¶ 35-43), and CAFA requires “the claims of the individual [purported class] members

 [to] be aggregated.” 28 U.S.C. § 1332(d)(6).

          The Complaint alleges Defendant violated BIPA as to at least 40 individuals. Compl. ¶ 27.

 Even 334 class members would yield a maximum amount in controversy in excess of the

 jurisdictional prerequisite for the four BIPA violations alleged (334 x $5,000 x 3 = $5,010,000).

 Since November 23, 2015, Meridian has employed at least 334 people in Illinois who use finger

 scan technology to punch in and out of work. See Ex. B ¶ 4. Thus, as alleged, the amount-in-

 controversy requirement is satisfied. See Dart Cherokee Basin Operating Co., LLC v. Owens, 574

 U.S. 81, 89 (2014) (“[A] defendant's notice of removal need include only a plausible allegation

 that the amount in controversy exceeds the jurisdictional threshold.”).

III.      The Procedural Requirements for Removal Have Been Satisfied

          This notice is timely. A notice of removal must be filed within 30 days of service. 28 U.S.C.

 § 1446(b). Defendant was served on December 16, 2020. Ex. B ¶ 5. Counting forward 30 days




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comes to January 15, 2021. Defendant is removing this matter, and therefore there are no other

defendants whose consent would be necessary.

       Defendant is today timely filing this notice with the Circuit Court of Williamson County,

along with an executed copy of the Notice of Filing Notice of Removal. Defendant is also today

serving those filings on all parties. 28 U.S.C. § 1446(d).

                                                     Respectfully submitted,
 Dated: January 14, 2021
                                                     /s/ Melissa A. Siebert
                                                     Melissa A. Siebert
                                                     Erin Bolan Hines (Admission Application
                                                     Forthcoming)
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                                                     Attorneys for Defendant Meridian Senior
                                                     Living, LLC




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                                 CERTIFICATE OF SERVICE

       I hereby certify that on January 14, 2021, the foregoing was filed via the Court’s Electronic
Filing System. Notice of this filing will be sent by operation of the Court’s Electronic Filing
System to all parties of record:


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                                                 /s/ Melissa A. Siebert
